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              IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF COLORADO



   Civil Action No. 13-CV-1300-MSK-MJW



   COLORADO OUTFITTERS ASSOCIATION, et al.,

           Plaintiffs

   v.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

           Defendant.




         PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE
        DEPOSITION EXCERPT OF SHAYNE HEAP AS AN EXHIBIT,
                   UNDER LEVEL 1 RESTRICTION


        1. This Motion requests permission to file three pages of deposition of plaintiffs’

           witness Shayne Heap as a trial Exhibit, subject to level 1 restriction.

        2. Pursuant to D.C.COLO.LCivR 7.1(a), Counsel has conferred with the Office of

           the Attorney General regarding this matter. The Attorney General does not

           oppose this Motion. The Attorney General has agreed to waive cross-

           examination of Mr. Heap concerning the statements which are the subject of


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         this motion. The parties agree that the filing of a restricted exhibit is

         preferable to closing the courtroom during a portion of Mr. Heap’s testimony.

      3. Mr. Heap was deposed on October 16, 2013. Pursuant to the stipulated

         confidential order in this case (#50), a portion of that deposition was marked

         confidential.

      4. Mr. Heap and his family have received a specific threat. That specific threat

         is detailed in document #106, at pages 24-25. This document reprints pages

         60-62 of the Heap deposition.

      5. Document #106 was filed on December 11, 2013, as Exhibit A to the proposed

         Third Amended Complaint. It was accompanied by a Motion to Restrict,

         Level 1. On December 19, this Court instructed Plaintiffs to file a Fourth

         Amended Complaint, with no exhibits; the Fourth Amended Complaint was

         filed on December 23, 2013.

      6. Plaintiffs call attention to #106 simply so that the Court may examine the

         particular contents of what would become a trial exhibit.

      7. Under D.C.Colo.LCivR 7.2(c), a motion to restrict public access must

         (1) identify the document or the proceeding for which restriction is sought;

         (2) address the interest to be protected and why such interest outweighs the

         presumption of public access (stipulations between the parties or stipulated

         protective orders with regard to discovery, alone, are insufficient to justify

         restriction);


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         (3) identify a clearly defined and serious injury that would result if access is

         not restricted;

         (4) explain why no alternative to restriction is practicable or why only

         restriction will adequately protect the interest in question (e.g., redaction,

         summarization, restricted access to exhibits or portions of exhibits); and

         (5) identify the level of restriction sought.

      8. For item (1), the document for which restriction is sought an excerpt

         containing pages 60-62 of Mr. Heap’s deposition testimony.

      9. For item (2), the interest to be protected is the lives of Mr. Heap and his

         family. The general public interest that exhibits in a case be public is

         significant. However, this interest is only slightly impaired by use of a

         confidential written presentation of information regarding a very particular

         safety issue which one witness faces. The general interest in public testimony

         is outweighed by the specific, identifiable, mortal danger.

      10. For item (3), public testimony about the matter by Mr. Heap would create an

         unacceptably heightened risk of danger to Mr. Heap and his family. The

         person who made the threat—who may well be mentally unstable—could

         react to publicity about the threat by attempting to carry it out. Further, in

         light of the particular subject-matter of the threat, there is a risk that other

         individuals who are mentally disordered, or who simply have violent

         inclinations, might treat the details of the threat as reason to make similar


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         threats or to take violent action against Mr. Heap and his family. There is

         also a risk that such dangerous persons might instead make threats or take

         violent action against other persons under the same purported rationale as

         was used against Mr. Heap and his family.

      11. Regarding item (4), a restricted exhibit is a less restrictive alternative to

         closure of the courtroom during witness testimony.

      12. Finally, for item (5), the restriction level sought is Level 1.

      13. Therefore, plaintiffs ask leave of this Court to file pages 60-62 of Mr. Heap’s

         October 12, 2013, as a restricted exhibit, Level 1.Respectfully submitted, this

         14th day of February, 2014.




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                              CERTIFICATE OF SERVICE

         I hereby certify that on Feb. 14, 2014, I have served the foregoing pleading
   via the CM/ECF system for the United States District Court for the District of
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